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                              UNITED STATES DISTRICT COURT FOR
                                  THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                )
                                                         )
                                Plaintiff,               )       8:07CR172
                                                         )
                        vs.                              )       FINAL ORDER OF
                                                         )       FORFEITURE
                                                         )
AUSTIN PRIEST,                                           )
                                                         )
                                Defendant.               )


        NOW ON THIS 5th day of November, 2007, this matter comes on before the Court upon the

United States’ Motion for Final Order of Forfeiture and Memorandum Brief. The Court reviews the

record in this case and, being duly advised in the premises, find as follows:

        1. On September 6, 2007, the Court entered a Preliminary Order of Forfeiture pursuant to

the provisions of Title 26, United States Code, Section 5841,Title 18, United States Code, Section

924(d) and Title 28, United States Code, 2461(c), based upon the Defendant's plea of guilty to

Counts I, III and IV of the Indictment filed herein. By way of said Preliminary Order of Forfeiture,

the Defendant’s interest in a Remington 12-gauge shotgun, was forfeited to the United States.

        2. On September 20, 27 and October 4, 2007, the United States published in a newspaper

of general circulation notice of this forfeiture and of the intent of the United States to dispose of the

property in accordance with the law, and further notifying all third parties of their right to petition

the Court within the stated period of time for a hearing to adjudicate the validity of their alleged legal

interest(s) in said property. An Affidavit of Publication was filed herein on November 2, 2007

(Filing No. 39).
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       3. The Court has been advised by the United States no Petitions have been filed. From a

review of the Court file, the Court finds no Petitions have been filed.

       4. The Plaintiff’s Motion for Final Order of Forfeiture should be sustained.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

       A. The Plaintiff’s Motion for Final Order of Forfeiture is hereby sustained.

       B. All right, title and interest in and to the Remington 12-gauge shotgun, held by any person

or entity, is hereby forever barred and foreclosed.

       C. The Remington 12-gauge shotgun, be, and the same hereby is, forfeited to the United

States of America .

       D. The United States Marshal for the District of Nebraska is directed to dispose of said

property in accordance with law.

       DATED this 5th day of November, 2007

                                              BY THE COURT:



                                              s/ Joseph F. Bataillon
                                              JOSEPH F. BATAILLON, CHIEF JUDGE
                                              United States District Court
